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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT COURT OF SOUTH CAROLINA

 KIZZY ESTES,                                       )           C/A No.: 5:17-00834-RMG
                                                    )
         Plaintiffs,                                )
                                                    )
 vs.                                                )
                                                    )        MOTION FOR RELIEF FROM
 CONSUELA FERGUSON, Individually                    )              MEDIATION
 And/Or In Her Official Capacity As                 )
 Employee of South Carolina Department              )
 of Corrections; JEFF SCOTT,                        )
 Individually And/Or In His Official                )
 Capacity As Employee of South Carolina             )
 Department of Corrections; MAMIE                   )
 CALLAHAN, Individually And/Or In                   )
 Her Official Capacity As Employee of               )
 South Carolina Department of                       )
 Corrections; SOUTH CAROLINA                        )
 DEPARTMENT OF CORRECTIONS;                         )
                                                    )
        Defendants.                                 )
                                                    )


        The Plaintiff, Kizzy Estes by and through her undersigned counsel, respectfully moves

this Court for an order relieving the Plaintiff from attending mediation, which is currently

scheduled for October 4, 2018. Counsel for the Plaintiff has had several direct conversations with

counsel for the Defendants regarding her formal demand. This demand was made in good faith and

is the lowest to which can be considered for full resolution of this matter. Just today, the Plaintiff

learned the Defendants highest, and final, offer is significantly lower than this amount.

        Additionally when the Plaintiff made the charges for this brutal rape she was arrested by the

Department of Corrections for filing a false charge. Today the Defendants indicated they would not

drop these charges, which would preclude a settlement from going forward. As such mediation for

this case would serve no useful purpose and would require the Plaintiff to travel approximately


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six hours, pay for a mediator, and require the Plaintiff to relive the brutal rape she endured. Thus,

good cause exists for the Plaintiff to be relieved from attending and going forward with mediation.

        In conclusion, the Plaintiff respectfully requests relief from the mediation requirement in the

above captioned matter.



                                        Respectfully submitted,


                                                        BELL LEGAL GROUP, LLC

                                                        s/J. Edward Bell, III
                                                        J. Edward Bell, III #1280
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October 4, 2018
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